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    6 OMEGA PRODUCTS
        INTERNATIONAL
    7

    8
                                UNITED STATES DISTRICT COURT
    9
              CENTRAL DISTRICT OF CALIFORNIA - SOUTHERN DIVISION
   10
        BILLON, INC. dba OMEGA                        Case No. 8:16-cv-00788-CJC-JPR
   11 PRODUCTS INTERNATIONAL,
                                                      PLAINTIFF’S AMENDED NOTICE
   12                  Plaintiff,                     OF APPEAL AND
                                                      REPRESENTATION STATEMENT
   13         v.
   14 JAMES SLATIN, EDNA CORLEY,
        JOHN VINZANT, MARTIN KNIGHT,
   15 and DOES 1-100, inclusive,

   16                  Defendants.
   17

   18

   19

   20

   21         NOTICE IS HEREBY GIVEN that Plaintiff BILLON, INC. dba OMEGA
   22 PRODUCTS INTERNATIONAL hereby appeals to the United States Court of Appeals

   23 for the Ninth Circuit from (a) the Judgment of Dismissal entered in this action on

   24 November 1, 2017 (Docket No. 54), attached hereto as Exhibit A, and (b) the Order

   25 Granting Defendants’ Motion for Attorneys’ Fees and Application for Costs entered in

   26 this action on January 3, 2018 (Docket No. 63), attached hereto as Exhibit B. Plaintiff’s

   27 Representation Statement is attached to this Notice as required by Ninth Circuit Rule 3-

   28 2(b).

                                                                             8:16-cv-00788-CJC-JPR
                   PLAINTIFF’S AMENDED NOTICE OF APPEAL AND REPRESENTATION STATEMENT
                                                                                                              Case 8:16-cv-00788-CJC-JPR Document 64 Filed 01/10/18 Page 2 of 17 Page ID #:1103



                                                                                                                                                                                 1 DATED: January 10, 2018           PRENOVOST, NORMANDIN, BERGH &
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                                                                                                                                                                                                                     DAWE
                                                                                                                                                                                                                     A Professional Corporation
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                                                                                                                                                                                 5                                   By:         /s/ Michael G. Dawe
                                                                                                                                                                                 6                                         MICHAEL G. DAWE
                                                                                                                                                                                                                           Attorneys for Plaintiff BILLON, INC. dba
                                                                                                                                                                                 7                                         OMEGA PRODUCTS INTERNATIONAL
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PRENOVOST, NORMANDIN, BERGH & DAWE




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                                     A Professional Corporation




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                                                                                                                                                                                 1                         REPRESENTATION STATEMENT
                                                                                                                                                                                 2        The undersigned represents Plaintiff-Appellant BILLON, INC. dba OMEGA
                                                                                                                                                                                 3 PRODUCTS INTERNATIONAL, and no other party. Pursuant to Rule 12(b) of the

                                                                                                                                                                                 4 Federal Rules of Appellate Procedure and Circuit Rule 3-2(b), Plaintiff-Appellant

                                                                                                                                                                                 5 submits this Representation Statement. The following list identifies all parties to the

                                                                                                                                                                                 6 action, and it identifies their respective counsel by name, firm, address, telephone

                                                                                                                                                                                 7 number, and e-mail, where appropriate.

                                                                                                                                                                                 8     PARTIES                                    COUNSEL OF RECORD
                                                                                                                                                                                 9     Plaintiff-Appellant BILLON, INC. dba Michael G. Dawe (SBN 94987)
                                                                                                                                                                                       OMEGA                    PRODUCTS PRENOVOST,                NORMANDIN,
                                                                                                                                                                                10     INTERNATIONAL                        BERGH & DAWE, APC
                                                                                                                                                                                                                            2122 North Broadway, Suite 200
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                                     A Professional Corporation




                                                                                                                                                                                13     Defendants-Appellees JAMES SLATIN, William L. Buus (SBN 180059)
                                                                                                                                                                                       EDNA CORLEY, JOHN VINZANT, and SCHIFFER & BUUS APC
                                                                                                                                                                                14     MARTIN KNIGHT                        3070 Bristol Street, Suite 530
                                                                                                                                                                                                                            Costa Mesa, CA 92626
                                                                                                                                                                                15                                          Telephone: (949)825-6140
                                                                                                                                                                                                                            Facsimile: (949)825-6141
                                                                                                                                                                                16                                          Email:       wbuus@schifferbuus.com
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                                                                                                                                                                                     DATED: January 10, 2018            PRENOVOST, NORMANDIN, BERGH &
                                                                                                                                                                                                                        DAWE
                                                                                                                                                                                19                                      A Professional Corporation
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                                                                                                                                                                                                                        By:         /s/ Michael G. Dawe
                                                                                                                                                                                22
                                                                                                                                                                                                                              MICHAEL G. DAWE
                                                                                                                                                                                23                                            Attorneys for Plaintiff BILLON, INC. dba
                                                                                                                                                                                24                                            OMEGA PRODUCTS INTERNATIONAL

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                            Exhibit A
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11                          UNITED STATES DISTRICT COURT
12                         CENTRAL DISTRICT OF CALIFORNIA
13                               SOUTHERN DIVISION
14   BILLON, INC., dba OMEGA     ) Case No.: 8:16-cv-00788-CJC-JPR
     PRODUCTS INTERNATIONAL,     )
15                               ) JUDGMENT
                Plaintiff,       )
16                               )
          vs.                    )
17                               )
     JAMES SLATIN, EDNA CORLEY, )
18   JOHN VINZANT, MARTIN KNIGHT )
     and DOES 1-100, inclusive,  )
19                               )
                Defendants.      )
20                               )
                                 )
21

22         This action came on for hearing before the Court on October 30, 2017, the
23   Honorable Cormac J. Carney, United States District Court Judge, presiding, on
24   Defendants’ Motion for Summary Judgment, and the evidence presented having
25   been fully considered, the issues having been duly heard and a decision having
26   been duly rendered,
27         IT IS ORDERED AND ADJUDGED that Plaintiff BILLON, INC., dba
28   OMEGA PRODUCTS INTERNATIONAL take nothing by way of its Complaint,
                                             1
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 1   that the action be dismissed on the merits, and that Defendants JAMES SLATIN,
 2   EDNA CORLEY, JOHN VINZANT, and MARTIN KNIGHT recover their costs
 3   of suit.
 4

 5                                       ___________________________
     Dated: November 1, 2017             Hon. Cormac J. Carney
 6                                       United States District Court Judge
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                                       JUDGMENT
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                            Exhibit B
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 8                            UNITED STATES DISTRICT COURT
 9                         CENTRAL DISTRICT OF CALIFORNIA
10                                  SOUTHERN DIVISION
11
                                                )
12                                              )      Case No.: SACV 16-00788-CJC(JPRx)
                                                )
13
     BILLON, INC., dba OMEGA                    )
                                                )
14   PRODUCTS INTERNATIONAL,                    )
                                                )
15                                              )      ORDER GRANTING DEFENDANTS’
                 Plaintiff,                     )      MOTION FOR ATTORNEYS’ FEES
16                                              )      AND APPLICATION FOR COSTS
           v.                                   )
17                                              )
                                                )
18   JAMES SLATIN, EDNA CORLEY,                 )
     JOHN VINZANT, and MARTIN                   )
19
     KNIGHT,                                    )
                                                )
20                                              )
                 Defendants.                    )
21                                              )
                                                )
22

23

24   I. INTRODUCTION
25

26         Plaintiff Billon, Inc. (“Billon”), doing business as Omega Products International,
27   brought this case against Defendants James Slatin, Edna Corley, John Vinzant, and
28   Martin Knight (together “Defendants”), alleging breach of contract, fraud, and negligent

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 1   misrepresentation arising from the business relationship between Omega Products
 2   International and Defendants’ LLC, Universal-Products International (“Universal”). (See
 3   Dkt. 1 Ex. A [Complaint].) Before the Court is Defendants’ motion for attorneys’ fees,
 4   (Dkt. 55 [hereinafter “Mot.”]), and application for costs, (Dkt. 56 [hereinafter “App.”]).
 5   For the following reasons, the Court hereby GRANTS Defendants’ motion and
 6   application.1
 7

 8   II. BACKGROUND
 9

10          On April 13, 2013, Universal filed an action against Omega in San Bernardino
11   Superior Court, Universal Products International, LLC v. Wacker Chemical Corporation
12   et al., No. CIVRS1302343 (“the Universal lawsuit”). (Dkt. 43-1 [Plaintiff’s Response to
13   Defendants’ Separate Statement of Uncontroverted Facts, hereinafter “SUF”] ¶ 15.)
14   Universal brought causes of action for breach of contract and breaches of the implied
15   warranties of merchantability and fitness for a particular purpose. (Id. ¶ 16.) The action
16   arose from Omega’s failure to perform quality control testing, which resulted in
17   Universal and its customers receiving defective products. (Id.) Ultimately, Omega was
18   found liable by a jury for $500,000 in damages resulting from its production of defective
19   products. (See Dkt. 15-1 at 2–4; Dkt. 38 Ex. 3.) On appeal, the California Court of
20   Appeal affirmed the judgment on April 27, 2017, (Dkt. 38 Ex. 8), and the California
21   Supreme Court denied Omega’s subsequent Petition for Review, (SUF ¶ 19).
22

23          While Omega’s appeal of the special jury verdict and state court judgment was
24   pending, Billon filed this action against Defendants in state court on March 7, 2016.
25   (Dkt. 1.) Billon’s action was removed to this Court on April 27, 2016. (Id.) Omega
26

27
     1
       Having read and considered the papers presented by the parties, the Court finds this matter appropriate
28   for disposition without a hearing. See Fed. R. Civ. P. 78; Local Rule 7-15. Accordingly, the hearing set
     for January 8, 2018, at 1:30 p.m. is hereby vacated and off calendar.
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 1   brought three causes of action against Defendants: (1) breach of contract, (Dkt. 1-1 ¶¶
 2   11–18), (2) fraud, (id. ¶¶ 19–24), and (3) negligent misrepresentation, (id. ¶¶ 25–29).
 3   Defendants filed a motion for summary judgment on October 24, 2016, (Dkt. 15), but the
 4   Court sua sponte stayed the case and denied the motion without prejudice in light of the
 5   pending appeal of the Universal lawsuit, (Dkt. 31). The Court lifted the stay on August
 6   14, 2017. (Dkt. 35.)
 7

 8         Defendants filed a motion for summary judgment on September 11, 2017. (Dkt.
 9   37.) Billon then filed a motion for leave to file a first amended complaint on September
10   27, 2017. (Dkt. 44.) Billon sought leave to amend to withdraw its breach of contract
11   cause of action, as well as “modify the legal theory upon which Omega’s two tort causes
12   of action are based.” (Id. at 1.) On October 30, 2017, the Court granted Defendants’
13   motion for summary judgment on all three of Billon’s claims, and denied Billon’s motion
14   for leave to amend. (Dkt. 51 [hereinafter “Order”].) Thereafter, Defendants filed their
15   present motion for attorneys’ fees in the amount of $72,770 and application for costs in
16   the amount of $2,140.
17

18   III. DISCUSSION
19

20         A. Application of California Civil Code section 1717
21

22         California law governs the recovery of attorneys’ fees in actions involving state
23   law claims. MRO Commc’ns v. Am. Tel. & Tel. Co., 197 F.3d 1276, 1282 (9th Cir. 1999)
24   (“In an action involving state law claims, [federal courts] apply the law of the forum state
25   to determine whether a party is entitled to attorneys’ fees, unless it conflicts with a valid
26   federal statute or procedural rule.”). Under California law, “where the parties have
27   contractually obligated themselves to pay attorneys’ fees,” California Civil Code section
28   1717 provides for reasonable attorneys’ fees to the prevailing party. Farmers Ins.

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 1   Exchange v. Law Offices of Conrado Joe Sayas, Jr., 250 F.3d 1234, 1237 (9th Cir. 2001).
 2   “In any action on a contract, where the contract specifically provides that attorneys’ fees
 3   and costs, which are incurred to enforce that contract, shall be awarded . . . , then the
 4   party who is determined to be the party prevailing on the contract . . . shall be entitled to
 5   reasonable attorneys’ fees in addition to other costs.” Cal. Civ. Code § 1717(a).
 6   California Civil Code section 1717 applies to contract containing reciprocal fee recovery
 7   provisions as well as unilateral attorney fee provisions. Santisas v. Goodin, 17 Cal. 4th
 8   599, 614 (1998). The prevailing party is “the party who recovered a greater relief in the
 9   action on the contract.” Id. § 1717(b).
10

11         Here, Billon alleged that Defendants breached the terms of two credit applications
12   which include provisions entitling the seller to recover its attorneys’ fees and costs.
13   (Dkts. 39-1, 40-1.) Billon sought attorneys’ fees incurred in this action under these
14   provisions. (Dkt. 1-1 Prayer for Relief.) Defendants obtained an unqualified victory on
15   all three of Billon’s claims, including breach of contract, when the Court granted
16   summary judgment in favor of Defendants and denied Billon’s motion to amend the
17   Complaint. See Hsu v. Abbara, 9 Cal.4th 863, 865–66 (1995) (holding that when the trial
18   court “renders a simple, unqualified decision in favor of the defendant on the only
19   contract claim in the action[,] ... the defendant, who is unquestionably the sole victor, is
20   the party prevailing on the contract as a matter of law and therefore entitled to reasonable
21   attorney fees under section 1717.”); David S. Karton, A Law Corp. v. Dougherty, 231
22   Cal. App. 4th 600, 608–09 (2014), as modified on denial of reh’g (Dec. 12, 2014) (same).
23   Moreover, section 1717 permits Defendants’ recovery even though Billon admitted the
24   credit applications were unenforceable contracts. Santisas, 17 Cal. 4th at 611 (“[I]t has
25   been consistently held that when a party litigant prevails in an action on a contract by
26   establishing that the contract is invalid, inapplicable, unenforceable, or nonexistent,
27   section 1717 permits that party’s recovery of attorney fees . . .”). Thus, Defendants are
28   entitled to attorneys’ fees and costs as the prevailing party in this action on a contract

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 1   under section 1717.2
 2

 3          Billon makes various arguments as to why section 1717 does not entitle
 4   Defendants to an award of attorneys’ fees and costs. (Dkt. 61 [Billon’s Opposition,
 5   hereinafter “Opp.”].) First, Billon argues that Defendants are not “prevailing parties”
 6   under section 1717 because Billon “voluntarily withdrew” its breach of contract action in
 7   its opposition to Defendants’ first motion for summary judgment. (Id. at 8–12.)3 Billon
 8   cites section 1717(b)(2) which provides, “[w]here an action has been voluntarily
 9   dismissed or dismissed pursuant to a settlement of the case, there shall be no prevailing
10   party for purposes of this section.” Cal. Civ. Code § 1717(b)(2). Contrary to Billon’s
11   assertion, section 1717(b)(2) does not apply here because Billon did not voluntary
12   dismiss the action. Instead, Billon sought to withdraw its breach of contract cause of
13   action, while maintaining its two tort causes of action. This change would constitute an
14   amendment to Billon’s Complaint and not a withdrawal of the action.4 Unlike the instant
15   action, the cases Billon cites apply section 1717(b)(2) when there has been a voluntary
16   dismissal of the entire action. See Int’l Indus., Inc. v. Olen, 21 Cal. 3d 218 (1978) (the
17
     2
       Billon does not contest that as a non-signatory party to the credit applications, it is bound to the
18
     attorneys’ fees provision contained therein because it has stood “in the shoes of a party to the contract.”
19   Apex LLC v. Korusfood.com, 222 Cal. App. 4th 1010, 1017–18 (2013) (citations omitted).
     3
       Billon also argues that Defendants have not prevailed “on the contract” because the Court granted
20   summary judgment in the Defendants’ favor on the basis of the litigation privilege, California Civil
     Code section 47. (Opp. at 12–13.) Billon cites no case law to support this contention. This argument is
21   a nonstarter. Section 1717 contains no requirement that a party prevail “on the contract” based on the
     terms of the contract or the enforceability thereof. Moreover, “California courts liberally construe the
22
     term ‘on a contract’ as used within section 1717. As long as the action “‘involve[s]’ a contract it is ‘on
23   [the] contract’ within the meaning of [s]ection 1717.” Dell Merk, Inc. v. Franzia, 132 Cal. App. 4th
     443, 455 (2005) (quotations and citations omitted); see Blickman Turkus, LP v. MF Downtown
24   Sunnyvale, LLC, 162 Cal. App. 4th 858, 894 (2008) (finding a cross-complaint concerning a real estate
     agent’s duties as a matter of law was “on the contract” for purposes of section 1717(a) where the cross-
25   complaint referred to the contract 14 times, attached a copy of the agreement, and incorporated it by
     reference). Billon’s invocation of the equitable maxim that “no one can take the benefit of his own
26
     wrong” in support of this argument is also unavailing. (Opp. at 16–17.) Billon argues that Defendants
27   have received an unjust reward by prevailing on this action in light of the litigation privilege. This is not
     a reason to deny Defendants’ their motion for attorneys’ fees.
     4
28     Indeed, Rule 41(a) does not permit a plaintiff to “dismiss, unilaterally, a single claim from a multi-
     claim complaint.” Ethridge v. Harbor House Rest., 861 F.2d 1389, 1392 (9th Cir. 1988).
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 1   plaintiff filed a request for voluntary dismissal without prejudice, and after being notified
 2   of the dismissal, defendant moved for entry of judgment); D & J, Inc. v. Ferro Corp., 176
 3   Cal. App. 3d 1191 (1986) (plaintiff moved to dismiss the action with prejudice during the
 4   trial and the court granted the motion; the defendant then requested attorneys’ fees and
 5   costs); Glencoe v. Neue Sentimental Film AG, 168 Cal. App. 4th 874 (2008) (plaintiff
 6   filed a voluntary dismissal of the action with prejudice while a motion for summary
 7   judgment was pending); Gogri v. Jack In The Box Inc., 166 Cal. App. 4th 255 (2008)
 8   (voluntary dismissal of action at franchisee’s request); Lerner v. Ward, 13 Cal. App. 4th
 9   155, 159 (1993) (holding attorneys’ fees were not recoverable under section 1717 where
10   the court had entirely dismissed the plaintiff’s contract action and the only claims
11   remaining were tort claims).
12

13         Second, Billon argues that because this action concerns both contract and tort
14   claims, the prevailing party on the contract is only entitled to fees “incurred to litigate the
15   contract claims” under section 1717. (Opp. at 13–15.) Billon argues that because it
16   voluntarily withdrew its breach of contract claim, the only claims that Defendants
17   prevailed on were tort claims for which section 1717 provides no recovery of attorneys’
18   fees. (Opp. at 15.) “If an action asserts both contract and tort or other noncontract
19   claims, section 1717 applies only to attorney fees incurred to litigate the contract claims.”
20   Santisas, 17 Cal. 4th at 615 (citing Reynolds Metals Co. v. Alperson, 25 Cal.3d 124, 129–
21   130 (1979). However, fees need not be apportioned “when incurred for representation
22   on an issue common to both a cause of action in which fees are proper and one in which
23   they are not allowed. All expenses incurred with respect to the [issues common to all
24   causes of action] qualify for award.” Reynolds Metals Co., 25 Cal. 3d at 129–130. Thus,
25   allocation is not required when the issues are “so interrelated that it would have been
26   impossible to separate them into claims for which attorney fees are properly awarded and
27   claims for which they are not.” Akins v. Enterprise Rent–A–Car Co., 79 Cal.App.4th
28   1127, 1133 (2000). All three of Billon’s claims were based on the same underlying core

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 1   of facts: that Defendants “represented they would indemnity [sic] and hold Omega
 2   harmless in the event of any claims of suits filed against Omega arising out of the
 3   contracts.” (Dkt. 1-1 ¶ 12; see also ¶¶ 20, 26.) Billon’s alleged damages for each claim
 4   were the judgment entered against Omega in the Universal lawsuit and the fees and costs
 5   Billon incurred defending itself in that action. (Id. ¶¶ 16, 18, 23, 29.) Billon even
 6   admitted that its proposed amendments were “based upon the same underlying operative
 7   core of facts as the initial complaint.” (Dkt. 44 at 7.) Here, Billon’s causes of action
 8   were “so interrelated” that the Court cannot allocate Defendants’ recovery between its
 9   contract and tort claims. See, e.g., Amtower v. Photon Dynamics, Inc., 158 Cal. App. 4th
10   1582, 1604–05 (2008), as modified (Feb. 15, 2008) (affirming trial court ruling that it
11   could not separate legal services rendered on contract claim from other claims where all
12   claims “relied upon the same factual allegations”); Thompson Pac. Const., Inc. v. City of
13   Sunnyvale, 155 Cal. App. 4th 525, 556 (2007) (affirming trial court ruling that it could
14   not separate out the fees between breach of contract claim and other claim where the
15   party conceded the two claims were related, and the contract claim “incorporated the very
16   disputes that led” to the other claim and the two claims required the same proof).
17

18         B. Reasonable Attorneys’ Fees and Costs
19

20         In determining whether an award of attorneys’ fees is reasonable, the lodestar
21   method is the fundamental starting point. Christensen v. Stevedoring Servs. of Am., 557
22   F.3d 1049, 1053 (9th Cir. 2009); City of Burlington v. Dague, 505 U.S. 557, 562 (1992)
23   (stating that “the ‘lodestar’ figure has . . . become the guiding light of [the court’s] fee-
24   shifting jurisprudence”). “The ‘lodestar’ is calculated by multiplying the number of
25   hours the prevailing party reasonably expended on the litigation by a reasonable hourly
26   rate.’” Ferland v. Conrad Credit Corp., 244 F.3d 1145, 1149 n.4 (9th Cir. 2001) (citation
27   and quotes omitted); accord Camacho v. Bridgeport Fin., Inc., 523 F.3d 973, 978 (9th
28   Cir. 2008). The attorney’s hourly rate is reasonable if it is in line with the prevailing

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 1   market rate of the relevant legal community, regardless of whether a party is represented
 2   by private or nonprofit attorneys. Blum v. Stenson, 465 U.S. 886, 895 (1984); see also
 3   Carson v. Billings Police Dep’t., 470 F.3d 889, 891 (9th Cir. 2006) (“When a party seeks
 4   an award of attorneys’ fees, that party bears the burden of submitting evidence of the
 5   hours worked and the rate paid” as well as “the burden to prove that the rate charged is in
 6   line with the prevailing market rate of the relevant community” (citation and quotes
 7   omitted)); Ingram v. Oroudjian, 647 F.3d 925, 928 (9th Cir. 2011) (“We have held that
 8   ‘[i]n determining a reasonable hourly rate, the district court should be guided by the rate
 9   prevailing in the community for similar work performed by attorneys of comparable skill,
10   experience, and reputation.’” (quoting Chalmers v. City of Los Angeles, 796 F.2d 1205,
11   1210–11 (9th Cir. 1986))). Generally, “the relevant community is the forum in which the
12   district court sits.” Camacho, 523 F.3d at 979. Reasonable hours expended on a case are
13   hours that are not “excessive, redundant, or otherwise unnecessary.” McCown v. City of
14   Fontana, 565 F.3d 1097, 1102 (9th Cir. 2009) (citation omitted); see also Moreno v. City
15   of Sacramento, 534 F.3d 1106, 1111 (9th Cir. 2008) (“The number of hours to be
16   compensated is calculated by considering whether, in light of the circumstances, the time
17   could reasonably have been billed to a private client.”). The lodestar figure is
18   presumptively reasonable. Dague, 505 U.S. at 562 (“We have established a strong
19   presumption that the lodestar represents the reasonable fee. . . .” (citation and quotes
20   omitted)). Thus, adjustments to the lodestar amount are permitted only if warranted by
21   the circumstances and are reserved for rare or exceptional cases. Rouse v. Law Offices of
22   Rory Clark, 603 F.3d 699, 704 (9th Cir. 2010).
23

24         Here, Defendants request $72,770 in attorneys’ fees, which represents the lodestar
25   amount. Defendants’ counsel Mr. Buus spent 153.20 hours on this action. This amount
26   is reasonable in light of Defendants filing and defending two summary judgment
27   motions, as well as defending Billon’s two motions for leave to amend. Mr. Buus’s
28   hourly rate is $475. This rate is reasonable in light of Mr. Buus’s experience as a trial

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 1   lawyer, the results obtained in this action, the relative complexity of the issues, and the
 2   fact that Mr. Buus forewent other work to represent Defendants in this action. Mr.
 3   Buus’s rate is also supported by the comparable rate listed in the Laffey Matrix for the
 4   District of Columbia, adjusted by statistics representing reasonable rates for attorneys in
 5   Orange County published by the United States Bureau of Labor Statistics. Defendants
 6   also request $2,140 in costs for filing fees associated with this action. (See generally
 7   App.) Billon does not oppose Mr. Buus’s hourly rate or the hours spent on the litigation.
 8   (See generally Opp.)
 9

10   IV. CONCLUSION
11

12         For the foregoing reasons, the Court GRANTS Defendants’ motion for attorneys’
13   fees in the amount of $72,770 and application for costs in the amount of $2,140.
14

15         DATED:        January 3, 2018
16                                                  __________________________________
17                                                        CORMAC J. CARNEY
18                                                  UNITED STATES DISTRICT JUDGE
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                                                                                                                                                                                 1                                 PROOF OF SERVICE
                                                                                                                                                                                 2 STATE OF CALIFORNIA, COUNTY OF ORANGE

                                                                                                                                                                                 3      At the time of service, I was over 18 years of age and not a party to this action. I
                                                                                                                                                                                   am employed in the County of Orange, State of California. My business address is
                                                                                                                                                                                 4 2122 North Broadway, Suite 200, Santa Ana, CA 92706-2614.

                                                                                                                                                                                 5      On January 10, 2018, I served true copies of the following document(s) described
                                                                                                                                                                                   as PLAINTIFF’S AMENDED NOTICE OF APPEAL AND REPRESENTATION
                                                                                                                                                                                 6 STATEMENT on the interested parties in this action as follows:

                                                                                                                                                                                 7 William L. Buus, Esq.
                                                                                                                                                                                     SCHIFFER & BUUS APC
                                                                                                                                                                                 8 959 South Coast Drive, Suite 385
                                                                                                                                                                                     Costa Mesa, CA 92626
                                                                                                                                                                                 9 Tel: (949) 825-6140 / Fax: (949) 825-6141
                                                                                                                                                                                     Email: wbuus@schifferbuus.com
                                                                                                                                                                                10 Attorneys for Defendants JAMES SLATIN,
                                                                                                                                                                                     EDNA CORLEY, JOHN VINZANT,
PRENOVOST, NORMANDIN, BERGH & DAWE




                                                                                                                                                                                11 MARTIN KNIGHT
                                                                                                                                      Tel (714) 547-2444 • Fax (714) 835-2889
                                                                                                   SANTA ANA, CALIFORNIA 92706-2614
                                                                  2122 NORTH BROADWAY, SUITE 200




                                                                                                                                                                                12
                                                                                                                                                                                           BY CM/ECF NOTICE OF ELECTRONIC FILING: I electronically filed the
                                     A Professional Corporation




                                                                                                                                                                                13 document(s) with the Clerk of the Court by using the CM/ECF system. Participants in
                                                                                                                                                                                     the case who are registered CM/ECF users will be served by the CM/ECF system.
                                                                                                                                                                                14 Participants in the case who are not registered CM/ECF users will be served by mail or
                                                                                                                                                                                     by other means permitted by the court rules.
                                                                                                                                                                                15
                                                                                                                                                                                           I declare under penalty of perjury under the laws of the United States of America
                                                                                                                                                                                16 that the foregoing is true and correct and that I am employed in the office of a member
                                                                                                                                                                                     of the bar of this Court at whose direction the service was made.
                                                                                                                                                                                17
                                                                                                                                                                                           Executed on January 10, 2018, at Santa Ana, California.
                                                                                                                                                                                18

                                                                                                                                                                                19
                                                                                                                                                                                                                               /s/ Brian Cronin
                                                                                                                                                                                20                                             Brian Cronin
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                                                                                                                                                                                              PLAINTIFF’S AMENDED NOTICE OF APPEAL AND REPRESENTATION STATEMENT
